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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
GAINESVILLE DIVISION

WAYNE COBB, et al.

Plaintiffs,
V. CIVIL ACTION FILE
2:23-CV-130-SCJ
JEREMY GREEN, et al.
JURY TRIAL
DEMANDED

Defendants.

CONSENT ORDER GRANTING IN PART DEFENDANT JEREMY
GREEN’S MOTION TO STAY DISCOVERY

For good cause shown and with the consent of Plaintiff Wayne Cobb, the
Court ORDERS that Defendant Jeremy Green’s Motion to Stay Discovery [Doc. 13]
is GRANTED IN PART, only as follows:

The deposition of Defendant GREEN and other discovery directed to
Defendant GREEN that may implicate his 5“ Amendment Rights, such as
interrogatories and requests for admission, are hereby stayed for one hundred and
twenty (120) days from the date of this order. At least thirty (30) days before the
expiration of this stay, the parties shall request a conference with the Court to update

the Court on the status of the criminal case and request whether the Court lift the
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stay or further extend the limited stay. All other discovery as to parties other than
Defendant GREEN and non-parties shall continue without interruption, and Green
may participate in the taking of such discovery.

IT IS SO ORDERED, this _| $+) day of , 2023.

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HONORABLE STEVE C. JONES
UNITED STATES VEC JUDGE

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This Consent Order is submitted on August 29, 2023.

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